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 1   GARY Y. LEUNG (Cal. Bar No. 302928)
     Email: LeungG@sec.gov
 2   PATRICIA PEI (Cal. Bar No. 274957)
     Email: PeiP@sec.gov
 3
     Attorneys for Plaintiff
 4   Securities and Exchange Commission
     Michele Wein Layne, Regional Director
 5   Alka N. Patel, Associate Regional Director
     Gary Y. Leung, Regional Trial Counsel
 6   444 S. Flower Street, Suite 900
     Los Angeles, California 90071
 7   Telephone: (323) 965-3998
     Facsimile: (213) 443-1904
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11
12     SECURITIES AND EXCHANGE                    Case No. 2:22-mc-00195-MCS-E
13     COMMISSION,
                                                  APPLICANT SECURITIES AND
14                 Applicant,                     EXCHANGE COMMISSION’S
                                                  SUPPLEMENTAL STATUS REPORT
15           vs.
16     ASPIRE VAPE CO.,
17                 Respondent.
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     Case 2:22-mc-00195-MCS-E Document 11 Filed 12/14/22 Page 2 of 4 Page ID #:95




 1         Applicant Securities and Exchange Commission (“SEC”) respectfully submits
 2   the following supplemental status report in the above-captioned matter:
 3         Following further efforts between the parties in the past week, no outstanding
 4   issues remain. Accordingly, Applicant SEC respectfully requests that the Court’s
 5   October 20, 2022 minute order requiring respondent to file papers attempting to show
 6   cause why the Court should not order compliance with the SEC’s administrative
 7   subpoena (Dkt. No. 5), as amended in its November 3 and November 29 minute
 8   orders (Dkt Nos. 7 and 9), be discharged and that this subpoena enforcement matter
 9   be dismissed.
10
11   Dated: December 14, 2022                    Respectfully submitted,
12
                                                 /s/ Gary Y. Leung
13
                                                 Gary Y. Leung
14                                               Patricia Pei
15                                               Attorneys for Applicant
                                                 Securities and Exchange Commission
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 1                                  PROOF OF SERVICE
 2   I am over the age of 18 years and not a party to this action. My business address is:
 3         U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4         Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5   On December 14, 2022, I caused to be served the document entitled APPLICANT
     SECURITIES AND EXCHANGE COMMISSION’S SUPPLEMENTAL
 6   STATUS REPORT on all the parties to this action addressed as stated on the
     attached service list:
 7
     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 8   collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of correspondence
 9   for mailing; such correspondence would be deposited with the U.S. Postal Service on
     the same day in the ordinary course of business.
10
           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11   which I personally deposited with the U.S. Postal Service. Each such envelope was
     deposited with the U.S. Postal Service at Los Angeles, California, with first class
12   postage thereon fully prepaid.
13         ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
     regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
14   Angeles, California, with Express Mail postage paid.
15   ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
     office of the addressee as stated on the attached service list.
16
     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
17   by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
     deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
18   Los Angeles, California.
19   ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
     the electronic mail address as stated on the attached service list.
20
     ☐    E-FILING: By causing the document to be electronically filed via the Court’s
21   CM/ECF system, which effects electronic service on counsel who are registered with
     the CM/ECF system.
22
     ☐     FAX: By transmitting the document by facsimile transmission. The
23   transmission was reported as complete and without error.
24         I declare under penalty of perjury that the foregoing is true and correct.
25    Date: December 14, 2022                   /s/ Gary Y. Leung
26                                              Gary Y. Leung
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 1                               SEC v. Aspire Vape Co.
               United States District Court – Central District of California
 2                          Case No. 2:22-mc-00195-MCS-E
 3                                   SERVICE LIST
 4
                Jack Dicanio, Esq. (served by CM/ECF)
 5              Skadden, Arps, Slate, Meagher & Flom LLP
                525 University Avenue, Suite 1400
 6              Palo Alto, CA 94301
                Email: jack.dicanio@skadden.com
 7              Attorney for Respondent Aspire Vape Co.
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